Case 1:05-cr-10056-.]DT Document 22 Filed 07/29/05 Page 1 of 2 Page|D 24

 

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN D|VlS|ON

 

UN|TED STATES OF AN|ER|CA

P|aintiff, Cr. No. 0 5 -1 0 0 5 6 - 0 2- T

V.

FRANK|E M|LLER,
Defendant.

\-.d-_r~_¢'-_¢‘-¢¢~_r

 

APPL|CATION, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attomey's Office applies to the Court for a Writ to have FRANK|E
MlLLER, now being detained in the Gibson County Jaii, appear before the Honorable S. Thomas
Anderson on FK.\U!’¢" OY'iq-OS ,at -2'. DO a.m./ .m'. for initial
appearance for such other appearances as this Court may direct.

Respectfu||y submitted this __g`___@% t day of Ju|y 2005.

JAMEsW PoWELL _ V *i`d
AssistantU. S. Attorney m §§ Q

  
 

ORDER

 

 

Upon consideration of the foregoing App|ication,
David Jo||ey, U.S. Marsha||, Westem District of Tennessee, and Gibson County Sheriff:

YOU ARE HEREBY COMN|ANDED to have FRANK|E MlLLER, appear before the
Honorab|e S. Thomas Anderson at the date and time aforementioned

ENTEREDthiS <QW~; dany 211@) 2005.

gm 522

S. THOMAS ANDERSON

. United States Magistrate Judge
Thls document entered on the docket sheet in compliance

with mile 55 and/or az(b) rach on ___CLO§_’L__

DlSTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

